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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF COLUMBIA SEALED
UNITED STATES OF AMERICA )
VS. Criminal Case No. 19-07 (TSC)
)
FILED
FEB O1 2019
MASOUD KHAN )

"Clerk, U.S. District and
| Bankruptcy Courts ;

WAIVER OF INDICTMENT
I, MASOUD KHAN , above-name defendant, who is accused of

False Statements Involving International Terrorism.

18:1001(a)(2)

being advised of the nature of the charge(s), the proposed information, and of my
rights, hereby waive in open court on February 1, 2019 prosecution by

indictment and consent that the proceeding may be by information rather than by

indictment.

 

Deféndart

Counsel for Defehdant

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Before = Date: 2[( [221 1

fateeFinya S. Chutkan

 
